  2:17-cv-14148-ELC-DPH-GJQ      Doc # 48   Filed 04/06/18   Pg 1 of 3   Pg ID 905




                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


                     _________
LEAGUE OF WOMEN VOTERS                      :
OF MICHIGAN, et al.,                        :
                                            :
                   Plaintiffs,              :     Civil Action No. 17-cv-14148
                                            :
                   v.                       :
                                            :
RUTH JOHNSON, in her official               :
capacity as Michigan Secretary of State     :
                                            :
                   Defendant.               :
                                            :
                                            :

PROPOSED CONGRESSIONAL INTERVENORS JACK BERGMAN, BILL
  HUIZENGA, JOHN MOOLENAAR, FRED UPTON, TIM WALBERG,
 MIKE BISHOP, PAUL MITCHELL, AND DAVID TROTT’S NOTICE OF
                         APPEAL


      Pursuant to 28 U.S.C. § 1253 and 28 U.S.C. § 2101(b), Proposed

Congressional Intervenors Jack Bergman, Bill Huizenga, John Moolenaar, Fred

Upton, Tim Walberg, Mike Bishop, Paul Mitchell, And David Trott, appeal to the

United States Supreme Court this Court’s ruling on April 4, 2018 (Dkt. No. 47)

denying intervention.
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Dated: April 6, 2018                              Respectfully submitted,



HOLTZMAN VOGEL JOSEFIAK                     CLARK HILL PLC
TORCHINSKY PLLC



/s/ Phillip M. Gordon                         /s/ Brian D. Shekell
Phillip Gordon                                Brian D. Shekell (P75327)
Jason Torchinsky                              Charles R. Spies. (to be admit.)
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  2:17-cv-14148-ELC-DPH-GJQ       Doc # 48    Filed 04/06/18   Pg 3 of 3   Pg ID 907




                            CERTIFICATE OF SERVICE

      On April 6, 2018, I certify that I filed the foregoing with the Clerk of the

Court using the CM/ECF system, which then sent a notification of electronic filing

to all counsel of record.



                             ___/s/_Phillip M. Gordon_______

                                    Phillip M. Gordon




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